
96 N.Y.2d 850 (2001)
In the Matter of RICARDO A. DI ROSE, Appellant,
v.
NEW YORK STATE DEPARTMENT OF CORRECTIONAL SERVICES, Respondent.
Court of Appeals of the State of New York.
Submitted May 21, 2001.
Decided June 14, 2001.
Appeal, insofar as taken from the February 28, 2001 Appellate Division order, dismissed, without costs, by the Court of Appeals, sua sponte, upon the ground that such order does not finally determine the proceeding within the meaning of the Constitution; appeal otherwise dismissed, without costs, by the *851 Court of Appeals, sua sponte, upon the ground that no substantial constitutional question is directly involved.
Judge GRAFFEO taking no part.
